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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
WESTERN DIVISION

IN THE MATTER OF A CRIMINAL
COMPLAINT AND ARREST
WARRANT FOR RONALD E. GRAB

CASE NO. 3:20MJ5282

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AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Sara Pedersen, being duly sworn, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

lL. I make this affidavit in support of a criminal complaint and arrest warrant of
Ronald E. Grab, DOB: 12/12/1946, SSN: XXX-XX-XXXX, residence at 5485 County Road 5, Delta,
Ohio 43515 for violating 18 U.S.C. § 922(0) and 26 U.S.C. § 5861(d).

2. Iam a Special Agent (“SA”) of the Federal Bureau of Investigation (the “FBI”),
and as such, I am an investigative or law enforcement officer of the United States within the
meaning of Rule 41(a)(2)(C) of the Federal Rules of Criminal Procedure. I am engaged in the
enforcement of criminal laws and am within a category of officers authorized by the Attorney
General to request and execute search and arrest warrants pursuant to Title 18 U.S.C. §§ 3052
and 3107; and DOJ regulations set forth at Title 28 C.F.R. §§ 0.85 and 60.2(a).

3. I am a Special Agent with the FBI and have been since June of 2014. Iam
currently assigned to the Toledo Resident Agency in the Cleveland Division. My educational
background includes study in the field of criminal justice, psychology, and the law. Prior to
becoming a Special Agent, I worked as a criminal defense attorney for approximately six years at

the state court level.
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4. My experience as an FBI agent includes the investigation of national-security
cases involving individuals seeking to travel overseas to commit violent jihad, those who have
participated in terrorist fundraising, those who desire to commit domestic acts of terrorism, and
those who have sought to commit acts of violence in the United States. Additionally, I have
completed FBI administered counterterrorism classroom and online training at the FBI Academy
and at other FBI facilities.

5. My experience as an FBI agent also includes the investigation of criminal cases,
including racketeering, healthcare fraud, crimes against children, murder, kidnapping, and drug
trafficking.

6. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents, officers, and witnesses. This affidavit is
intended to show merely that there is sufficient probable cause for the requested criminal
complaint and arrest warrant and does not set forth all of my knowledge about this matter.

7. Based on my training and experience and the facts set forth in this affidavit, there
is probable cause to believe that violations of 18 U.S.C. § 922(0) — Possession of machinegun;
and 26 U.S.C. § 5861(d) - Possession of an unregistered machinegun or destructive device have
been committed by Ronald E. Grab.

STATUTORY AUTHORITY

8. Title 18, United States Code, Section 922(0) states it is unlawful for any person
to transfer or possess a machinegun. For this subsection, a “machinegun” means any weapon
which shoots, is designed to shoot, or can be readily restored to shoot, automatically more than
one shot, without manual reloading, by a single function of the trigger. The term shall also

include the frame or receiver of any such weapon, any part designed and intended solely and
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exclusively, or combination of parts designed and intended, for use in converting a weapon into a
machinegun, and any combination of parts from which a machinegun can be assembled if such
parts are in the possession or under the control of a person.

9. Title 26, United States Code, Section 5861(d) states it is unlawful to receive or
possess a firearm which is not registered to him in the National Firearms Registration and
Transfer Record. For this subsection, a “firearm” includes a machinegun and destructive device.

PROBABLE CAUSE

10. On September 10, 2020, United States Magistrate Judge James Knepp II
authorized a search warrant for a residence on 5485 County Road 5, Delta, Ohio 43515. Law
enforcement confirmed that Grab owned this property and it contains a single family dwelling.
This is the only property owned by Grab. On September 8 and September 9, 2020, law
enforcement conducted surveillance at this address and observed Grab there and confirmed he
lived there. Additionally, Grab registered two vehicles in his name at that address.

11. On September 11, 2020, law enforcement executed a search warrant at Grab’s
residence located at 5485 County Road 5, Delta, Ohio. During the search, they found an AR-15
receiver. The receiver is labeled SQS15; cal multi; BCI 06373; BCI Defense; Bremen, IN; USA.

12. On September 11, 2020, ATF Special Agent Joseph Delucio examined the above-
stated receiver (BCI Defense, model SQS15, and serial number BCI06373). SA Delucio
determined the lower receiver had components commonly found on an M16 fully automatic rifle,
namely an automatic hammer and auto-auto sear. SA Delucio found the selector switch capable
of moving to the 3 o’clock position, a position often used for fully automatic fire. SA Delucio
conducted a function test on the lower receiver, using the upper receiver and the bolt carrier

group of another AR-15 style rifle recovered in the above-stated search. SA Delucio executed a
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function test and confirmed the firearm operated in a manner consistent with fully automatic

fire. In SA Delucio’s opinion, the lower receiver meets the federal definition of a machinegun.

13. ATF confirmed that Grab has no firearm registration records for any gun.
CONCLUSION
14. Based on the foregoing facts and circumstances, there is probable cause to believe

that Ronald E. Grab has committed a violation of Title 18, United States Code, Section 922(0),
that is possession of a machinegun. and Title 26, United States Code, Section 5861(d) that is
possession of a firearm which is not registered in the National Firearms Registration and
Transfer Record. As such, your A ffiant requests that a criminal complaint and arrest warrant be

issued.
Special Agent Sara Pedersen (FBI)

Subscribed and sworn to me telephonically after
submission by reliable electronic means, this 14th

day of September 202 o
tnfTED James R. Knepp, II

 

ITED STATES MAGISTRATE JUDGE
